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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:12CR17
                              )
          v.                  )
                              )
RELXFORD HAYES,               )                       ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court on the findings and

recommendation and order of the magistrate judge (Filing No. 54),

recommending that defendant’s motion to dismiss (Filing No. 33)

be denied.   The Court has reviewed the motion, the brief (Filing

No. 34), and the transcript (Filing No. 53) and finds the

recommendation should be approved and adopted.             Accordingly,

          IT IS ORDERED:

          1)   The findings and recommendation of the magistrate

judge are approved and adopted;

          2)   Defendant’s motion to dismiss is denied;

          3)   Trial of this matter is scheduled for:

                Tuesday, June 19, 2012, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The parties will have time to pursue plea negotiations or

prepare for trial.      The ends of justice will be served by

continuing this case and outweigh the interests of the public and
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the defendant in a speedy trial.       The additional time between May

22, 2012, and June 19, 2012, shall be deemed excludable time in

any computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 22nd day of May, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
